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      integrity)



      AG Pax­ton: Car­roll­ton
      May­oral Can­di­date
      Arrest­ed for Mail Bal­-
      lot Fraud
      Texas Attorney General Ken Paxton announced that his Election
      Fraud Unit assisted the Denton County Sheriff’s Office in
      arresting Zul Mirza Mohamed, a candidate in the City of
      Carrollton mayoral race, on 84 counts of mail ballot application
      fraud and 25 counts of unlawful possession of an official mail
      ballot. If convicted, Mohamed faces up to 20 years in prison for
      these offenses.
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  “I strongly commend the Denton County
  Sheriff’s Office, the Lewisville Police
  Department, and Texas Department of Public
  Safety as well as the Denton Elections and
  District Attorney’s offices for their outstanding
  work on this case and their commitment to
  ensuring a free and fair Presidential election in
  the face of unprecedented voter fraud,” said
  Attorney General Paxton. “Mail ballots are
  inherently insecure and vulnerable to fraud, and
  I am committed to safeguarding the integrity of
  our elections. My office is prepared to assist any
  Texas county in combating this form of fraud.”


Mohamed allegedly obtained a virtual mailbox using a false
identity, forged at least 84 voter registration applications for
unwitting Denton residents and had them sent to a fraudulent
location. At the time of arrest, Mohamed was in the process of
stuffing envelopes with additional mail ballot applications for
neighboring Dallas County.
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